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                       Exhibit B
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                 Alvarez v. Atlantic Richfield Co., 2:17-cv-00414-PPS-JPK:
                            Defendants’ Proposed Verifications
 I.    Proposed Plaintiff Verification:

       I, ______________________________ [Plaintiff Name], declare under penalty of perjury
       that I have reviewed ________________________________________ [Specific
       Document Name] to Defendants’ First Set of Interrogatories and Requests for Production
       of Documents to Plaintiffs, and that my responses in the foregoing document are true and
       correct.


       Executed on: ______________________________ [Month, Date, and Year]

       ______________________________ [Plaintiff’s Signature]

       ______________________________ [Plaintiff’s Printed Name]

 II.   Proposed Verification for Other Responding Individuals:

       I, ______________________________ [Name of Responding Individual], declare under
       penalty of perjury that I have reviewed ________________________________________
       [Specific Document Name] to Defendants’ First Set of Interrogatories and Requests for
       Production of Documents to Plaintiffs, and that the responses I provided on behalf
       ______________________________           [Name    of   Plaintiff],   who    is    my
       ______________________________ [Responding Individual’s Relationship to Plaintiff],
       in the foregoing document are true and correct.


       Executed on: ______________________________ [Month, Date, and Year]

       ______________________________ [Responding Individual’s Signature]

       ______________________________ [Responding Individual’s Printed Name]

       ____________________________________________________________
       [Name of Plaintiff and Responding Individual’s Relationship to Plaintiff]
